
Chief Judge Fuld
(concurring). I, too, am for reversal, but solely on the second ground stated by the court (opn., p. 11), namely, that at the conclusion of the conference in the judge’s chambers the parties were still at odds concerning the terms of settlement. In this view, I do not reach the further question as to the meaning and content of the term “ open court,” as used in CPLR 2104.
Judges Burke, Bergan, Jasen and Gibson concur with Judge Breitel; Chief Judge Fuld concurs in a separate opinion in which Judge Scileppi. concurs.
Order reversed, without costs, and the matter remitted to Supreme Court, Kings County, for further proceedings in accordance with the opinion herein.
